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                          UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA

                                   Case No.: 20-cv-22840-UU


  CARLOS BRITO,

         Plaintiff,

  v.

  SOUTHLAND MALL PROPERTIES,
  LLC; SOUTHLAND ITALIAN, LLC; T4
  MANAGEMENT, LLC; and DOHERTY
  APPLE FLORIDA, LLC,

         Defendants.
                                              /

                                              ORDER

        THIS CAUSE is before the Court upon the Plaintiff and Defendant Doherty Apple Florida,

 LLC’s Joint Notice of Settlement (“Notice”). D.E. 31. The Court has reviewed the pertinent

 portions of the record and is otherwise fully advised in the premises. Accordingly, as all other

 Defendants have been dismissed from this case, it is

        ORDERED AND ADJUDGED that the Clerk of Court SHALL administratively close this

 case. All future hearings are CANCELED and all pending motions are DENIED AS MOOT.

        THE PARTIES are hereby notified that all papers related to the settlement reached by the

 parties, including any order of dismissal stating specific terms and conditions, must be received by

 this Court by February 4, 2021. If such papers are not filed by this deadline, this matter will be

 DISMISSED without further notice. Within sixty (60) days of such an order of dismissal, either

 party may petition the court to have the case reinstated after showing good cause as to why

 settlement was not in fact consummated.
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       DONE AND ORDERED in Chambers at Miami, Florida, this _8th_ day of January 2021.




                                              _______________________________
                                              URSULA UNGARO
                                              UNITED STATES DISTRICT JUDGE
 cc: Counsel of Record via CM/ECF
